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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

 Case No.:       CV 20-01882 RAO                                       Date:    September 13, 2021
 Title:          James Shayler v. Ehab S. Yacoub, et al.



 Present:           The Honorable ROZELLA A. OLIVER, U.S. MAGISTRATE JUDGE

                 Donnamarie Luengo                                        N/A
                   Deputy Clerk                                  Court Reporter / Recorder

      Attorneys Present for Plaintiff(s):                   Attorneys Present for Defendant(s):

                        N/A                                                 N/A

Proceedings:             (In Chambers) ORDER RE BRIEFING ON PENDING MOTION FOR
                         OSC RE: VACATUR OF JUDGMENT [83]

        On September 9, 2021, Defendants filed a Motion for Order to Show Cause Re: Vacation
of Judgment/Order (“Motion”). Dkt. No. 83. Having reviewed the Motion, the Court directs
Plaintiff to file a response and sets the following briefing schedule:

                 Plaintiff’s response shall be filed by September 23, 2021.
                 Defendants’ reply, if any, shall be filed by September 30, 2021.
                 After completion of briefing on the Motion, the Court will notify the parties
                  regarding scheduling of a hearing.

       IT IS SO ORDERED.


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                                                                   Initials of Preparer   dl




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